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UNITED STATES DISTRICT COURT """`~!~:` ' l M
FOR THE `

WESTERN DISTRICT 0F TENNESSEE 131` 59 iii *3= §§

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UNITED STATES OF AMERICA )
)

vs. ) CR. No. 04-20474-D
)

KATHERINE SUE PRATT )

DOB: 10/1/73

APPLICATION, ORDER and WRIT FOR HABEAS CORPUS AD PROSEOUENDUM
Dan L. Newsom applies to the Court for a Writ to have Katherine Sue Pratt, now being
detained in the Dyer County Jail, 401 E. Cedar Street, Dyersburg, TN 38024 appear before the
Honorable Tu M. Pham on April 27, 2005, at 9:30 a.m. for Initial Appearance/Arraignment and for

such other appearances as this Court may direct.

 
 
  

Respectfully submitted this § day of April, 20

Dan L.
Assistant U. S. Attor ey

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Upon consideration of the foregoing Application,
DAVID G. JOLLEY, U.S. MARSHAL, WESTERN DISTRICT OF TENNESSEE, MEMPHIS, TN
SHERIFF, Dyer County Sheriff‘s Office
YOU ARE HEREBY COMMANDED to have Katherine Sue Pratt appear before the Honorable Tu M.

Pham at the date and time aforementioned

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UNTH§D STATES\MAGISTRATE JUDGE

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UNITED sATE DSTIIC COURT - WESTERN DISTRCT OFTENNESSEE

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Honcrable Bernice Donald
US DISTRICT COURT

